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                         THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

   SYMBOLOGY INNOVATIONS, LLC,

                         Plaintiff,
                  v.                                   Civil Action No. 1:18-CV-20331-CMA

   FIDELITY NATIONAL TITLE GROUP,                           JURY TRIAL DEMANDED

                         Defendant.


                NOTICE OF DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

         Plaintiff Symbology Innovations, LLC, pursuant to Federal Rule of Civil Procedure

  41(a)(1)(A)(i), hereby gives notice of dismissal of the above-captioned action, without prejudice,

  with each party to bear its own costs, attorneys’ fees and expenses. The defendant has not

  answered or filed a motion for summary judgment, therefore no order is required under the Rule.

                                               Respectfully submitted,

                                               /s/ Alex J. Whitman
                                               Thomas C. Wright
                                               Admitted Pro Hac Vice
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